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12   Hermès of Paris, Inc. and Hermès                Attorneys for Plaintiffs
     International                                   and the Proposed Class
13

14
                                   UNITED STATES DISTRICT COURT
15
                                  NORTHERN DISTRICT OF CALIFORNIA
16
                                      SAN FRANCISCO DIVISION
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18   TINA CAVALLERI, an individual; MARK                CASE NO. 3:24-cv-01707-JD
     GLINOGA, an individual, on behalf of
19   themselves and all others similarly situated,      STIPULATION AND [PROPOSED] ORDER
                                                        TO EXTEND MOTION TO DISMISS
20                  Plaintiffs,                         BRIEFING SCHEDULE

21          vs.                                         [PURSUANT TO CIV. L.R. 6-1(B) AND 6-2]

22   HERMÈS INTERNATIONAL, a French                     Hon. James Donato
     corporation and HERMÈS OF PARIS, INC.,
23   a New York corporation, and DOES 1
     through 10; inclusive,
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                    Defendants.
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                                                                      STIPULATION AND [PROPOSED] ORDER
                                                                                TO EXTEND MTD BRIEFING
                                                                                 CASE NO. 3:24-CV-01707-JD
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 1          Pursuant to Civil Local Rules 6-1(b) and 6-2, Plaintiffs Tina Cavalleri and Mark Glinoga,

 2   on behalf of themselves and all others similarly situated (“Plaintiffs”), and Defendant Hermès of

 3   Paris, Inc. (collectively, the “Parties”) by and through their undersigned counsel of record and

 4   subject to the Court’s approval, hereby stipulate as follows:

 5          WHEREAS, Plaintiffs filed a Complaint on March 19, 2024 (ECF No. 1);

 6          WHEREAS, Defendants filed a Motion to Dismiss Plaintiffs’ Complaint on May 9, 2024

 7   (ECF No. 29);

 8          WHEREAS, in lieu of opposing Defendants’ Motion to Dismiss, Plaintiffs filed the First

 9   Amended Class Action Complaint May 30, 2024 (ECF No. 33);

10          WHEREAS, Defendants filed a Motion to Dismiss Plaintiffs’ First Amended Complaint

11   on July 2, 2024 (ECF No. 38);

12          WHEREAS, the Court granted Defendants’ Motion to Dismiss Plaintiffs’ First Amended

13   Complaint with leave to amend in the Civil Minutes entered on September 19, 2024 (ECF No.

14   51);

15          WHEREAS Plaintiff filed Second Amended Class Action Complaint on October 11,

16   2024 (ECF No. 52);

17          WHEREAS, Defendants filed a Motion to Dismiss Plaintiffs’ Second Amended Class

18   Action Complaint on October 25, 2024 (ECF No. 54);

19          WHEREAS, Plaintiffs requested, and consistent with the Court’s Guidelines for

20   Professional Conduct, Defendants agreed as a professional courtesy to, a brief extension of the
21   Motion to Dismiss briefing schedule and have agreed to continue the Opposition and Reply
22   deadlines;
23          WHEREAS, pending the Court’s approval, the Parties agree to modify the Motion to
24   Dismiss briefing schedule as follows:
25
                                                       Current Date           Proposed Date
26
         Opposition                                  November 8, 2024       November 22, 2024
27       Reply                                      November 15, 2024       December 13, 2024
         Hearing on Motion to Dismiss                 January 30, 2024        January 30, 2024
28
                                                       1
                                                                       STIPULATION AND [PROPOSED] ORDER
                                                                                 TO EXTEND MTD BRIEFING
                                                                                  CASE NO. 3:24-CV-01707-JD
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 1          WHEREAS, no trial date has been set for this case and the Parties believe that the

 2   granting of the herein requested extensions will not have any effect on the overall case schedule;

 3          WHEREAS, the Parties respectfully submit that there is good cause for this Stipulation to

 4   accommodate Plaintiffs’ counsel’s professional schedule, and the Parties have conferred and

 5   agree that, given Plaintiffs’ prior commitments and the Thanksgiving holiday schedule, the

 6   Parties will benefit from adjusting the briefing schedule on Defendants’ Motion to Dismiss.

 7          WHEREAS, this Stipulation is not entered into for the purpose of delay and the Parties

 8   have not previously requested an extension of the deadlines for briefing Defendants’ Motion to

 9   Dismiss Plaintiffs’ Second Amended Class Action Complaint;

10          NOW THEREFORE, the Parties stipulate and agree, by and through their undersigned

11   counsel of record and subject to the Court’s approval, to modify the Motion to Dismiss briefing

12   schedule.

13          IT IS SO STIPULATED.

14   Dated: November 5, 2024                          Respectfully submitted,

15                                                    LATHAM & WATKINS LLP

16                                                    By       /s/ Ashley M. Bauer
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26                                                         Attorneys for Defendants Hermès of Paris,
                                                           Inc. and Hermès International
27

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                                                     2
                                                                      STIPULATION AND [PROPOSED] ORDER
                                                                                TO EXTEND MTD BRIEFING
                                                                                 CASE NO. 3:24-CV-01707-JD
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 1   Dated: November 5, 2024                 HAFFNER LAW PC

 2                                           By       /s/ Vahan Mikayelyan
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13                                                Attorneys for Plaintiffs and
                                                  the Proposed Class
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                                                              STIPULATION AND [PROPOSED] ORDER
                                                                        TO EXTEND MTD BRIEFING
                                                                         CASE NO. 3:24-CV-01707-JD
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 1                                    SIGNATURE ATTESTION
 2          I am the ECF User whose identification and password are being used to file the foregoing

 3   Stipulation and [Proposed] Order to Extend Motion to Dismiss Briefing Schedule. Pursuant to

 4   Local Rule 5-1(i)(3) regarding signatures, I, Vahan Mikayelyan, attest that concurrence in the

 5   filing of this document has been obtained.

 6

 7   Dated: November 5, 2024                             /s/ Vahan Mikayelyan
                                                         Vahan Mikayelyan
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                                                                      STIPULATION AND [PROPOSED] ORDER
                                                                                TO EXTEND MTD BRIEFING
                                                                                 CASE NO. 3:24-CV-01707-JD
      Case 3:24-cv-01707-JD          Document 55       Filed 11/05/24       Page 6 of 6


 1                                        [PROPOSED] ORDER

 2            Having considered the Parties’ stipulation, and for good cause shown, the Court hereby

 3   ORDERS as follows:

 4            1.     Plaintiffs shall file their opposition on November 22, 2024;

 5            2.     Defendant shall file its reply on December 13, 2024;

 6            3.     Hearing on Defendant’s Motion to Dismiss shall be set on January 30, 2024, at

 7   10:00 a.m.

 8            T IS SO ORDERED.

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     Dated:
10                                                         The Honorable James Donato
11                                                          United States District Judge

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                                                                       STIPULATION AND [PROPOSED] ORDER
                                                                                 TO EXTEND MTD BRIEFING
                                                                                  CASE NO. 3:24-CV-01707-JD
